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 1 Jon V. Swenson (SBN 233054)
   BAKER BOTTS LLP
 2 620 Hansen Way
   Palo Alto, CA 94304
 3
   Telephone: (650) 739-7500
 4 Facsimile: (650) 739-7699
   Email: jon.swenson@bakerbotts.com
 5
   John M. Taladay (pro hac vice)
 6 Joseph Ostoyich (pro hac vice)
   Erik T. Koons (pro hac vice)
 7 Charles M. Malaise (pro hac vice)
   BAKER BOTTS LLP
 8 1299 Pennsylvania Ave., N.W.

 9 Washington, DC 20004-2400
   Telephone: (202) 639-7700
10 Facsimile: (202) 639-7890
   Email: john.taladay@bakerbotts.com
11 Email: joseph.ostoyich@bakerbotts.com
   Email: erik.koons@bakerbotts.com
12
   Email: charles.malaise@bakerbotts.com
13 Attorneys for Defendant Koninklijke Philips N.V.

14                                  UNITED STATES DISTRICT COURT
15                                 NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO DIVISION
16

17                                                         ) Case No. 07-5944-SC
   In re: CATHODE RAY TUBE (CRT)                           )
18 ANTITRUST LITIGATION                                    ) MDL No. 1917
                                                           )
19                                                         ) DECLARATION OF TIFFANY B. GELOTT
     This Document Relates to:                             ) IN SUPPORT OF KONINKLIJKE PHILIPS
20                                                         ) N.V.’S REPLY IN SUPPORT OF MOTION
   Electrograph Sys., Inc. v. Hitachi, Ltd.,               ) FOR SUMMARY JUDGMENT
21 No. 11-cv-01656;                                        )
                                                           ) Date:          February 6, 2015
22 Electrograph Sys., Inc. v. Technicolor SA,              ) Time:          10:00 a.m.
                                                           ) Place:         Courtroom No. 1, 17th Floor
   No. 13-cv-05724;                                        )
23
                                                           ) Hon. Samuel Conti
24 Siegel v. Hitachi, Ltd.,                                )
   No. 11-cv-05502;                                        )
25                                                         )
   Siegel v. Technicolor SA,                               )
26 No. 13-cv-05261;                                        )
                                                           )
27                                                         )
   Best Buy Co., Inc. v. Hitachi, Ltd.,                    )
28 No. 11-cv-05513;                                        )
                                                           )

         DECLARATION OF JAP JONGEDIJK IN SUPPORT OF KONINKLIJKE PHILIPS N.V.’S NOTICE OF MOTION AND MOTION FOR
                                  SUMMARY JUDGMENT (3:07-CV-05944 SC, MDL NO. 1917)
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 1 Best Buy Co., Inc. v. Technicolor SA,                   )
   No. 13-cv-05264;                                        )
 2                                                         )
   Interbond Corp. of Am. v. Hitachi, Ltd.,                )
 3                                                         )
   No. 11-cv-06275;                                        )
 4                                                         )
   Interbond Corp. of Am. v. Technicolor SA,               )
 5 No. 13-cv-05727;                                        )
                                                           )
 6 Office Depot, Inc. v. Hitachi, Ltd.,                    )
   No. 11-cv-06276;                                        )
 7                                                         )
                                                           )
 8 Office Depot, Inc. v. Technicolor SA,                   )
   No. 13-cv-05726;                                        )
 9                                                         )
   CompuCom Sys., Inc. v. Hitachi, Ltd.,                   )
10 No. 11-cv-06396;                                        )
                                                           )
11                                                         )
   P.C. Richard & Son Long Island Corp. v.                 )
12 Hitachi, Ltd.,                                          )
   No. 12-cv-02648;                                        )
13                                                         )
   P.C. Richard & Son Long Island Corp. v.                 )
14 Technicolor SA,                                         )
                                                           )
15 No. 13-cv-05725;                                        )
                                                           )
16 Schultze Agency Servs., LLC v. Hitachi, Ltd.,           )
   No. 12-cv-02649;                                        )
17                                                         )
   Schultze Agency Servs., LLC v. Technicolor SA,          )
18 No. 13-cv-05668;                                        )
                                                           )
19                                                         )
   Tech Data Corp. v. Hitachi, Ltd.,                       )
20 No. 13-cv-00157;                                        )
                                                           )
21 Sears, Roebuck and Co. and Kmart Corp. v.               )
   Technicolor SA,                                         )
22 No. 13-cv-05262                                         )
                                                           )
23                                                         )
   Sears, Roebuck and Co. and Kmart Corp. v.               )
24 Chunghwa Picture Tubes, Ltd.,                           )
   No. 11-cv-05514                                         )
25                                                         )
   Sharp Electronics Corp. v. Hitachi Ltd.,                )
26                                                         )
   No. 13-cv-1173 SC                                       )
27                                                         )
   Sharp Electronics Corp. v. Koninklijke Philips          )
28 Elecs., N.V.,                                           )
   No. 13-cv-2776 SC                                       )
                                                          -1-
        DECLARATION OF TIFFANY B. GELOTT IN SUPPORT OF KONINKLIJKE PHILIPS N.V.’S REPLY IN SUPPORT OF MOTION FOR
                                   SUMMARY JUDGMENT (3:07-CV-05944 SC, MDL NO. 1917)
          Case 4:07-cv-05944-JST Document 3467-1 Filed 01/23/15 Page 3 of 4



 1                                                         )
   ViewSonic Corp. v. Chunghwa Picture Tubes,              )
 2 Ltd.,                                                   )
   No. 14-cv-2510 SC                                       )
 3                                                         )
                                                           )
 4 All Indirect Purchaser Actions                          )
                                                           )
 5                                                         )
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        DECLARATION OF TIFFANY B. GELOTT IN SUPPORT OF KONINKLIJKE PHILIPS N.V.’S REPLY IN SUPPORT OF MOTION FOR
                                   SUMMARY JUDGMENT (3:07-CV-05944 SC, MDL NO. 1917)
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 1         I, Tiffany Gelott, declare and state as follows:

 2         1.      I am an attorney with Baker Botts LLP, attorneys for Koninklijke Philips N.V.

 3 (“KPNV”) in the above-captioned action. I am a member of the bar of the District of Columbia and

 4 have been admitted to practice before this Court on this matter pro hac vice. I make this declaration in

 5 support of KPNV’s Reply in Support of Motion for Summary Judgment. The information contained

 6 herein is based on my own personal knowledge, and if called as a witness I could, and would, testify

 7 competently that the matters set forth herein are true.

 8         2.      Attached hereto as Exhibit 1 is a true and correct copy of excerpts of the Deposition of

 9 Jan De Lombaerde (10/9/2014) (“Lombaerde Dep.”).

10         3.      Attached hereto as Exhibit 2 is a true and correct copy of excerpts of the Deposition of

11 Franciscus Spaargaren (11/5/2014) (“Spaargaren Dep.”).

12         4.      Attached hereto as Exhibit 3 is a true and correct copy of excerpts of the Deposition of

13 Jim Smith (12/12/2013) (“Smith Dep.”).

14         5.      Attached hereto as Exhibit 4 is a true and correct copy of excerpts of the Deposition of

15 Roger De Moor (7/31/2012) (“De Moor Dep.”).

16         I declare under penalty of perjury that the foregoing is true and correct to the best of my

17 knowledge and information.

18         Executed on January 23, 2015 in Washington, D.C.

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20                                                  /s/ Tiffany B. Gelott

21                                                  Tiffany B. Gelott

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        DECLARATION OF TIFFANY B. GELOTT IN SUPPORT OF KONINKLIJKE PHILIPS N.V.’S REPLY IN SUPPORT OF MOTION FOR
                                   SUMMARY JUDGMENT (3:07-CV-05944 SC, MDL NO. 1917)
